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                                  #:1820


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 8                   IN THE UNITED STATES DISTRICT COURT
 9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
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     SOCHIL MARTIN,                           Case No. 2:20-cv-01437-ODW(ASx)
12
                                  Plaintiff, [PROPOSED] ORDER GRANTING
13                                           THE PEOPLE OF THE STATE OF
                       v.                    CALIFORNIA’S EX PARTE
14                                           APPLICATION TO QUASH
     LA LUZ DEL MUNDO, an                    SUBPOENAS
15   unincorporated association, NAASÓN
     JOAQUÍN GARCÍA, an individual,          Judge:      Hon. Otis D. Wright, II
16   EL CONSEJO DE OBISPOS, an
     unincorporated association,             Trial Date:       Not set
17   INTERNATIONAL BEREA USA, an Action Filed:                 February 12, 2020
     unincorporated association,
18   GILBERTO GARCÍA GRANADOS,
     an individual, JOSE HERNANDEZ,
19   an individual, UZZIEL JOAQUÍN, an
     individual, SILVERIO CORONADO,
20   an individual, AURELIO
     ZAVALETA, an individual, JOSE
21   LUIS ESTRADA, an individual,
     JONATHAN MENDOZA, an
22   individual, ALMA ZAMORA DE
     JOAQUÍN, an individual,
23   BENJAMIN JOAQUÍN GARCÍA, an
     individual, RAHEL JOAQUÍN
24   GARCÍA, an individual, ADORAIM
     JOAQUÍN ZAMORA, an individual,
25   DAVID MENDOZA, an individual
     and DOES 1 through 10, inclusive,
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                               Defendants.
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Case 2:20-cv-01437-FWS-AS   Document 79 Filed 07/02/20    Page 2 of 2 Page ID
                                  #:1821


 1        FOR GOOD CAUSE SHOWN, the Ex Parte Application of the People of the
 2   State of California to Quash Subpoenas is GRANTED.
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 5           July 2, 2020
     Dated: ____________                                    / s / Sagar
                                                   __________________________
                                                   Hon. Alka Sagar
 6                                                 United States Magistrate Judge
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